                   IN THE UNITED STATES DISTRICT COURT FOR THE

                               EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

 UNITED STATES OF AMERICA

         V.                                              Case No. l:20-mj-4

 JOHN WILLIAM BURBY KELLEY,
      a/k/a"Carl,"
         a/k/a^'BotOod"

         Defendant.



                                                 ORDER


        Upon the motion ofthe United States, by and through its attorneys, and the defendant,

John William Kirby Kelley, by and through his attorneys, and finding in accordance with 18

U.S.C.§ 3161,for the reasons stated in the Consent Motion to Extend Time for Indictment,that

the ends ofjustice served by granting the extension outweigh the best interests ofthe public and

the defendant in a speedy trial, it is hereby,

        ORDERED that the time period for indicting the defendant be and is hereby extended up

to and including April 14,2020. Accordingly,the delay resulting from the pending motion for

extension shall be excluded in computing the time within which an indictment must be filed.
           IVo                                    (JUuM Jl)j.




Date:
        Alexandria, Virginia                                    Leonie M. Brinkcir.^'
                                                                United States District Judge
